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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERNDIVISION

UNITED STATES OF AMERICA
                                              No. 12 CR 731 - 1,2
             v.
                                              Magistrate Judge MARIA VALDEZ
VICTOR MANUEL CONTRERAS
     also known as “Jesse”
MARIO ORTIZ

                  PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the agreed motion of the government, pursuant to Fed. R. Crim. P. 16(d),

it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for, or

in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendants and

defendants’ counsel (defined as counsel of record in this case) solely in connection with

the defense of this case, and for no other purpose, and in connection with no other

proceeding, without further order of this Court.

      2.     Defendants and defendants’ counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize

disclosure (collectively, “authorized persons”). Potential witnesses and their counsel

may be shown copies of the materials as necessary to prepare the defense, but may not

retain copies without prior permission of the Court. The materials and their contents
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shall not be disclosed either directly or indirectly to any person or entity outside of the

United States without prior authorization from the Court.

      3.      Defendants, defendants’ counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use in

connection with this case by defendants, defendants’ counsel, and authorized persons.

Such copies and reproductions shall be treated in the same manner as the original

materials.

      4.     Defendants, defendants’ counsel, and authorized persons shall not disclose

any notes or records of any kind that they make in relation to the contents of the

materials, other than to authorized persons, and all such notes or records are to be

treated in the same manner as the original materials.

      5.      Before providing materials to an authorized person, defense counsel must

provide the authorized person with a copy of this Order.

      6.      Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise ordered

by the Court. The materials may be (1) destroyed; (2) returned to the United States;

or (3) retained in defense counsel's case file. The Court may require a certification as

to the disposition of any such materials. In the event that the materials are retained

by defense counsel, the restrictions of this Order continue in effect for as long as the

materials are so maintained, and the materials may not be disseminated or used in

connection with any other matter without further order of the Court.

      7.      To the extent any material is produced by the United States to defendants

or defendants’ counsel by mistake, the United States shall have the right to request the
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return of the material and shall do so in writing. Within five days of the receipt of such

a request, defendants and/or defendants’ counsel shall return all such material if in

hard copy, and in the case of electronic materials, shall certify in writing that all copies

of the specified material have been deleted from any location in which the material was

stored.

       8.     The restrictions set forth in this Order do not apply to documents that are

or become part of the public court record, including documents that have been received

in evidence at other trials, nor do the restrictions in this Order limit defense counsel

in the use of discovery materials in judicial proceedings in this case, absent prior

permission from this Court.

       9.     Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

                                          ENTER:

                                          _______________________________
                                          MARIA VALDEZ
                                          Magistrate Judge
                                          United States District Court
                                          Northern District of Illinois
      October 4, 2012
Date: _______________
